     Case 2:23-cv-01939-WBS-AC Document 26 Filed 11/09/23 Page 1 of 3


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11

12                         UNITED STATES DISTRICT COURT

13                        EASTERN DISTRICT OF CALIFORNIA

                                 SACRAMENTO DIVISION
14

15
     X CORP.,                              No. 2:23-cv-01939-WBS-AC
16
                    Plaintiff,
17
           v.                              NOTICE OF SUPPLEMENTAL AUTHORITY
                                           IN SUPPORT OF MOTION FOR
18   ROBERT A. BONTA, Attorney             PRELIMINARY INJUNCTION
     General of California, in his
19   official capacity,                    EXTENDED ORAL ARGUMENT REQUESTED

20                  Defendant.             Date: November 13, 2023
                                           Time: 1:30 p.m.
21                                         Crtrm: 5

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     NOTICE OF SUPPLEMENTAL AUTHORITY      i
     IN SUPPORT OF MOTION FOR
     PRELIMINARY INJUNCTION
     Case 2:23-cv-01939-WBS-AC Document 26 Filed 11/09/23 Page 2 of 3


 1                       NOTICE OF SUPPLEMENTAL AUTHORITY

 2         Pursuant    to     Eastern   District    California     L.R.   230(m)(2),

     Plaintiff   X    Corp.    hereby   submits    this   Notice   of   Supplemental
 3
     Authority in support of its Motion for Preliminary Injunction, as
 4
     to the decision of the Ninth Circuit Court of Appeals in Nat’l
 5
     Assoc. of Wheat Growers v. Bonta, --- F.4th ----, No. 20-16758,
 6
     2023 WL 7314307 (9th Cir. Nov. 7, 2023).             A true and correct copy
 7   of the decision is attached hereto as Exhibit 1.
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     NOTICE OF SUPPLEMENTAL AUTHORITY        1
     IN SUPPORT OF MOTION FOR
     PRELIMINARY INJUNCTION
     Case 2:23-cv-01939-WBS-AC Document 26 Filed 11/09/23 Page 3 of 3


 1   DATED: November 9, 2023       /s/ Joel Kurtzberg

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     NOTICE OF SUPPLEMENTAL AUTHORITY      2
     IN SUPPORT OF MOTION FOR
     PRELIMINARY INJUNCTION
